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Kirklin, Taylor (USAINS)

From:                Kirklin, Taylor (USAINS)
Sent:                Tuesday, October 12, 2021 9:52 AM
To:                  Denise Clark
Subject:             RE: Brown v. Wilkie, No. 1:20-cv-01154 (S.D. Ind.) - Whitnie Padron


Hi Denise –

To date, Defendant has not been provided with any updated contact information for Ms. Padron. Can you
please let me know if Plaintiff still intends to use her as a treating expert at trial, given the difficulties in
locating her? I thought the Court was pretty clear at the last status conference that experts who couldn’t be
made available for deposition would not be permitted at trial, and don’t want to create briefing work for both
sides if it’s not necessary, so I wanted to see if Plaintiff still intends to rely on Ms. Padron in this case.

Please let me know when you have a chance.

Thanks,
Taylor


J. Taylor Kirklin
Assistant United States Attorney
United States Attorney’s Office
10 West Market St., Suite 2100
Indianapolis, IN 46204
Tel: (317) 229-2457
Fax: (317) 226-6125
taylor.kirklin@usdoj.gov


From: Kirklin, Taylor (USAINS)
Sent: Tuesday, August 31, 2021 10:47 AM
To: Denise Clark <dmclark@benefitcounsel.com>
Subject: RE: Brown v. Wilkie, No. 1:20‐cv‐01154 (S.D. Ind.) ‐ Whitnie Padron

Great, thank you for confirming.

From: Denise Clark <dmclark@benefitcounsel.com>
Sent: Tuesday, August 31, 2021 10:45 AM
To: Kirklin, Taylor (USAINS) <TKirklin@usa.doj.gov>
Subject: Re: Brown v. Wilkie, No. 1:20‐cv‐01154 (S.D. Ind.) ‐ Whitnie Padron

That approach makes sense.

Denise M. Clark
Sent from my iPhone


        On Aug 31, 2021, at 8:47 AM, Kirklin, Taylor (USAINS) <Taylor.Kirklin@usdoj.gov> wrote:
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  Hi Denise –

  Do you have any updated information on Ms. Padron? We had noticed the deposition for this
  Friday. Unless you’ve been able to speak with her, I think we should consider that deposition
  adjourned. We still have about a month of the expert discovery period left, so if you’re able to
  locate Ms. Padron in September, we can reschedule the deposition at a mutually agreeable
  time.

  Do you agree with that approach?

  Thanks,
  Taylor


  J. Taylor Kirklin
  Assistant United States Attorney
  United States Attorney’s Office
  10 West Market St., Suite 2100
  Indianapolis, IN 46204
  Tel: (317) 229-2457
  Fax: (317) 226-6125
  taylor.kirklin@usdoj.gov




  From: Kirklin, Taylor (USAINS)
  Sent: Wednesday, August 25, 2021 10:09 AM
  To: Denise Clark <dmclark@benefitcounsel.com>
  Cc: Crouch, Melanie (USAINS) <MCrouch@usa.doj.gov>
  Subject: RE: Brown v. Wilkie, No. 1:20‐cv‐01154 (S.D. Ind.) ‐ Whitnie Padron

  Denise –

  One additional thing: to the extent that Ms. Padron intends to seek fees in connection with this
  deposition, attached is a Vendor Form that the United States will need her to complete and
  send back to us. I would also need to know the hourly rate. If you’ve managed to locate her,
  I’m happy to send this directly to her, if you have updated contact information.

  Thanks,
  Taylor



  J. Taylor Kirklin
  Assistant United States Attorney
  United States Attorney’s Office
  10 West Market St., Suite 2100
  Indianapolis, IN 46204
  Tel: (317) 229-2457
  Fax: (317) 226-6125
  taylor.kirklin@usdoj.gov
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  From: Denise Clark <dmclark@benefitcounsel.com>
  Sent: Friday, August 13, 2021 10:05 AM
  To: Kirklin, Taylor (USAINS) <TKirklin@usa.doj.gov>
  Subject: RE: Brown v. Wilkie, No. 1:20‐cv‐01154 (S.D. Ind.) ‐ Whitnie Padron

  I will see what I can do.

  From: Kirklin, Taylor (USAINS) <Taylor.Kirklin@usdoj.gov>
  Sent: Friday, August 13, 2021 9:37 AM
  To: Denise Clark <dmclark@benefitcounsel.com>
  Subject: Brown v. Wilkie, No. 1:20‐cv‐01154 (S.D. Ind.) ‐ Whitnie Padron


  Denise –

  I called Dermatology Specialists of West Florida to follow up on the subpoena to Whitnie
  Padron. I was told Ms. Padron has left the practice. I don’t have any other contact information
  for her, aside from the information in your expert disclosure. Can you please try to locate her so
  that we can get the deposition set up?

  Thanks,
  Taylor


  J. Taylor Kirklin
  Assistant United States Attorney
  United States Attorney’s Office
  10 West Market St., Suite 2100
  Indianapolis, IN 46204
  Tel: (317) 229-2457
  Fax: (317) 226-6125
  taylor.kirklin@usdoj.gov




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